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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

             Plaintiff,                         Case No. 2:20-cr-00117-BLW

      v.                                        ORDER ADOPTING REPORT
                                                AND RECOMMENDATION
LARRY JUNIOR HILLBROOM,

             Defendant.


      Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 202). On September 21, 2021, Defendant appeared before

the Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Magistrate Judge conducted the plea hearing and concluded there

is a factual basis for Defendant’s admission to forfeiture and plea of guilty to the

charges contained in Count One of the Superseding Indictment (Dkt. 67), and that

it was entered voluntarily and with full knowledge of the consequences. No

objections to the Report and Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of

Rule 11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the

requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was




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voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 202) shall be, and the same is hereby, ADOPTED as the

decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the

crimes charged in Count One of the Superseding Indictment (Dkt. 67) shall be, and

the same is hereby, ACCEPTED by the Court as a knowing and voluntary plea

supported by an independent basis in fact containing each of the essential elements

of the offense.

      IT IS FURTHER ORDERED that Defendant Larry Junior Hillbroom is

found GUILTY as to the applicable crimes charged in Count One of the

Superseding Indictment. (Dkt 67).

                                              DATED: October 6, 2021


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




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